     Case 2:07-cr-00117-RHW         ECF No. 304   filed 10/31/08   PageID.1349 Page 1 of 2



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                             UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF WASHINGTON
 8    UNITED STATES OF AMERICA,
 9                                                    NO. CR-07-117-RHW-3
             Plaintiff,
10           v.                                       ORDER GRANTING
11                                                    DEFENDANT’S MOTION FOR
      MARIA PUENTES,                                  COURT ORDER ALLOWING
12                                                    DEFENDANT TO TRAVEL TO
                                                      MEXICO
13           Defendants.

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           Before the Court is Defendant’s Motion for Court Order Allowing
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     Defendant to Travel to Mexico (Ct. Rec. 297). A hearing on the motion was held
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     on October 28, 2008, in Yakima, Washington. Defendant was present and
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     represented by Patrick True. The Government was represented telephonically by
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     Assistant United States Attorney Jill Bolton. This order memorializes the Court’s
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     oral ruling.
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           Accordingly, IT IS HEREBY ORDERED:
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           1. Defendant’s Motion for Court Order Allowing Defendant to Travel to
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     Mexico (Ct. Rec. 297) is GRANTED.
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           2. The conditions of release are modified to permit Defendant to travel to
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     Mexico between November 15, 2008, and December 26, 2008.
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           3. The United States Probation Office is directed to return Defendant’s
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     passport to her.
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           4.       Defendant shall report to the United States Probation Office upon
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     ORDER GRANTING DEFENDANT’S MOTION FOR COURT ORDER
     ALLOWING DEFENDANT TO TRAVEL TO MEXICO ~ 1
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 1 return, and no later than January 5, 2009.
 2          IT IS SO ORDERED. The District Court Executive is directed to enter this
 3 Order and forward copies to counsel and the United States Probation Office.
 4          DATED this 31st day of October, 2008.
 5
                                          s/ Robert H. Whaley
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                                      ROBERT H. WHALEY
 7                                Chief United States District Court
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     ORDER GRANTING DEFENDANT’S MOTION FOR COURT ORDER
     ALLOWING DEFENDANT TO TRAVEL TO MEXICO ~ 2
